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                      UNITED STATES DISTRICT COURT

                           DISTRICT OF CONNECTICUT

JO LYNN WILSON                           :

VS.                                      :      NO. 3:15cv207(RAR)

YALE UNIVERSITY                          :      SEPTEMBER 1, 2017

               PLAINTIFF’S PROPOSED VOIR DIRE QUESTIONS

      1. This is a lawsuit for employment discrimination brought against Yale

University. The plaintiff alleges that the defendant refused to provide an

accommodation of a disability. Is there any reason why you would have difficulty

being completely neutral and fair in deciding this case if you are chosen to serve

on the jury?

      2. Is there anyone here who would prefer not to sit on a jury concerning a

case of this kind?

      3. Does anyone here feel for any reason that citizens who believe that

they have been treated illegally and unfairly should not bring suit against those

they believe to be responsible? If so, please explain.

      4. Have you or has anyone close to you ever been the victim of

employment discrimination?

      5. Have you or anyone close to you ever lost a job for reasons you

considered to be unfair?

      6. Has anyone here or any close to you ever been employed by an
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attorney?

       7. Would you tend to favor one side or the other in this case without

regard to the evidence which may be presented?

       8. Does anyone here believe that allegations of employment

discrimination should be treated less seriously than other kinds of illegal activity?

       9. Does anyone here believe that the laws which prohibit discrimination

on the basis of disability should be repealed or not enforced?

       10. Is there anyone here who would refuse to return a verdict in favor of

the plaintiff even if she proved his case?

       11. Have you, or has anyone close to you, ever been a party to a lawsuit?

If so, please explain.

       12. Where are you employed?

       13. Where are the other members of your household employed?

       14. At the outset of this case, having heard no evidence, do you favor

one side or the other in this case?


                                   THE PLAINTIFF


                                   BY:            /s/    (ct00215)
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CERTIFICATION OF SERVICE

On the date above stated, a copy of the foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.


                                           /s/
                                  JOHN R. WILLIAMS
